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 6
 7
 8                                 UNITED STATE DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10                                                      )   Case No. 1:12-CR-00349-LJO
     UNITED STATES OF AMERICA,                          )
11                                                      )   STIPULATION FOR A CONTINUATION
                    Plaintiff,                          )   OF SENTENCING AND THE HEARING
12                                                      )   ON THE PRESENTENCE REPORT OF
     v.                                                 )   PROBATION OFFICER; ORDER OF
13                                                      )   DENIAL
     JOSE ARELLANO,                                     )
14                                                      )
                    Defendants.                         )
15                                                      )
                                                        )
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             IT IS HEREBY STIPULATED by and between plaintiff, the United States of America,
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19 and the defendant by and through his attorney, that the date set for hearing on the presentence
20 report of the probation officer and sentencing be extended from Monday, April 28, 2014 at 8:30
21 a.m. to Monday, May 12, 2014 at 8:30 a.m.
22           This request is for the purpose of allowing counsel for Mr. ARELLANO additional time to
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     file supplemental objections to the presentence report and for the government to respond to both
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     the original and supplemental objections to the presentence report.
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       Case 1:12-cr-00349-LJO-SKO Document 84 Filed 04/23/14 Page 2 of 2


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 3 ///
 4                                                    Respectfully submitted,
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 6
 7 DATED: April 23, 2014                               /s/ Salvatore Sciandra
                                                      SALVATORE SCIANDRA
 8                                                    Attorney for Defendant,
                                                      JOSE ARELLANO
 9
10
11 DATED: April 23, 2014                               /s/ Kimberly A. Sanchez
                                                      KIMBERLY A. SANCHEZ
12                                                    Assistant United States Attorney
13                                                    This was agreed to via email 4/23/2014
14
15                                             ORDER
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              Request DENIED. There has been ample time to accomplish that which is now being
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     requested. No good cause has been given for its not having been accomplished. The
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     Sentencing will proceed as scheduled.
19 IT IS SO ORDERED.
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           Dated:   April 23, 2014                      /s/ Lawrence J. O’Neill
21                                                UNITED STATES DISTRICT JUDGE

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